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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  AT BECKLEY

MOUNTAIN VALLEY PIPELINE, LLC,

                Plaintiff,


v.                                                            Civil Action No. 5:23-cv-00625
                                                                 (Judge Frank W. Volk)


MELINDA ANN TUHUS and
ROSE ZHENG ABRAMOFF

                Defendant.

                                 CERTIFICATE OF SERVICE

         The undersigned, as counsel for the Plaintiff, hereby certifies that on September 16, 2024,

a complete copy of DEFENDANT ABRAMOFF’S FIRST DISCOVERY REQUEST was served

via electronic mail to tmiller@babstcalland.com, mcasto@babstcalland.com,

rstonestreet@babstcalland.com, jhicks@babstcalland.com, arogers@babstcalland.com, and

kmarkins@babstcalland.com, and mailed via FedEx to the following address:

                               ATTN: Timothy Miller/Austin Rogers
                                   BABST CALLAND, P.C.
                                 300 Summers Street, Suite 1000
                                     Charleston, WV 25301
                                       Tel: 681-205-8888



                                                                      William V. DePaulo




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